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                                 UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK
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IN RE TERRORIST ATTACKS ON                                          Civil Action No.
SEPTEMBER 11, 2001                                                  03 MDL 1570

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This document relates to:
       Burnett, et al. vs. Islamic Republic of Iran, et al., Case No. 15-CV-9903 (GBD)(SN)

              SUGGESTION OF DEATH MOTION TO SUBSTITUTE PARTIES
              PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 15(d)

        Pursuant to Federal Rule of Civil Procedure 15(d), Plaintiffs herein move the Court to

allow substitution of the parties as identified in Exhibit A in the above-referenced actions. The

individuals being substituted into the case are the Personal Representatives of family members of

individuals killed as a result of the terrorist attacks on September 11, 2001, who have passed

away since their claims were initially filed in this litigation.

        Exhibit A identifies the individual to be substituted in the pleading, including the capacity

in which they seek to be substituted, state of residency at the time of this substitution, the

existing pleadings that refer to the plaintiff, and the decedent for whom the substituted plaintiff is

the Personal Representative.

        Plaintiffs propose that, upon endorsement of Plaintiffs’ Proposed Order, the substituted

parties will be individually entered as Plaintiffs into the Court’s ECF system to ease the burden

on the Clerk of the Court’s Office and based on the size of this MDL.

Dated: June 20, 2024                                     Respectfully submitted,

                                                         MOTLEY RICE LLC

                                                         /s/ John M. Eubanks
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                            EXHIBIT A to Motion to Substitute Parties

       Prior                   Case           Substituted      State of          9/11
       Identification of       Information:   Personal         Residency of      Decedent’s
       Plaintiff:                             Representative: Personal           Name:
                                                               Representative
                                                               at Filing:
1.     JAMES T.                15-cv-9903,    PATRICE          NY                Jacqueline
       DONOVAN in              ECF No. 53     KELLEHER, as                       Donovan
       their own right as      at 2488        Personal
       the Surviving                          Representative
       Parent of                              of the Estate of
       Jacqueline                             James T.
       Donovan, Deceased                      Donovan as the
                                              Surviving
                                              Parent of
                                              Jacqueline
                                              Donovan,
                                              Deceased
2.     PATRICIA                15-cv-9903,    EDWARD           NY                Vincent D.
       FLANDERS in             ECF No. 53     FLANDERS, as                       Kane, Jr.
       their own right as      at 1315        Personal
       the Sibling of                         Representative
       Vincent D. Kane,                       of the Estate of
       Jr., Deceased                          Patricia
                                              Flanders as the
                                              Surviving
                                              Sibling of
                                              Vincent D.
                                              Kane, Jr.,
                                              Deceased
3.     THOMAS                  15-cv-9903,    JANIS            NY/NY             Joan
       CULLINAN in             ECF No. 53     BIERMAN and                        McConnell
       their own right as      at 3172        JOHN                               Cullinan
       the Surviving                          CULLINAN, as
       Spouse of Joan                         Co-Personal
       McConnell                              Representatives
       Cullinan, Deceased                     of the Estate of
                                              Thomas
                                              Cullinan as the
                                              Surviving
                                              Spouse of Joan
                                              McConnell
                                              Cullinan,
                                              Deceased

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4.     EDWARD S.           15-cv-9903,     MARY E.            NY            Michael
       ANDREWS in their ECF No. 53         ANDREWS, as                      Rourke
       own right as the    at 2898         Personal                         Andrews
       Surviving Parent of                 Representative
       Michael Rourke                      of the Estate of
       Andrews, Deceased                   Edward S.
                                           Andrews as the
                                           Surviving
                                           Parent of
                                           Michael Rourke
                                           Andrews,
                                           Deceased
5.     FRANCES RUTH          15-cv-9903,   JAMES M.           NY            Howard
       SELWYN in their       ECF No. 53    SELWYN, as                       Selwyn
       own right as          at 3488       Personal
       Surviving Spouse                    Representative
       of Howard Selwyn,                   of the Estate of
       Deceased                            Frances Ruth
                                           Selwyn as the
                                           Surviving
                                           Spouse of
                                           Howard
                                           Selwyn,
                                           Deceased
6.     AVRAM                 15-cv-9903,   HELEN K.           NY            Joshua Alan
       ROSENTHAL in          ECF No. 53    ROSENTHAL,                       Rosenthal
       their own right as    at 2650       as Personal
       Surviving Parent of                 Representative
       Joshua Alan                         of the Estate of
       Rosenthal,                          Avram
       Deceased                            Rosenthal as the
                                           Surviving
                                           Parent of Joshua
                                           Alan Rosenthal,
                                           Deceased




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